                     Case: 24-30706 Document: 11 Page: 1 Date Filed: 11/13/2024
                  NOTICE OF FORM FOR APPEARANCE (See Fifth Cir. Rule 12)
Only attorneys admitted to the Bar of this Court may practice before the Court. Each attorney representing
a party must complete a separate form. (COMPLETE ENTIRE FORM unless otherwise noted).
                               Fifth Cir. Case NO.         24-30706

Roake                                                                       vs. Brumley
(Short Title)
The Clerk will enter my appearance as Counsel for Plaintiffs-Appellees (please see attachment for full

 description of party names)

______________________________________________________________________________________________________________
(Please list names of all parties represented, attach additional pages if necessary.)
The party(s) I represent IN THIS COURT                   Petitioner(s)           Respondent(s) Amicus Curiae

                                         Appellant(s)                  Appellee(s)                              Intervenor

       I certify that the contact information below is current and identical to that listed in my Appellate Filer
Account with PACER.
  /s/ Jonathan K. Youngwood                                                       jyoungwood@stblaw.com
(Signature)                                                                      (e-mail address)

 Jonathan K. Youngwood                                                            MS 106441
(Type or print name)                                                             (State/Bar No.)


(Title, if any)

 Simpson Thacher & Bartlett LLP
 __________________________________________________________________________________________
(Firm or Organization)
Address                  425 Lexington Avenue

City & State New York, NY                                                                              Zip 10017

Primary Tel._ 212-455-3539                     Cell Phone:                                       (Optional)
NOTE: When more than one attorney represents a single party or group of parties, counsel should designate a lead counsel. In
the event the court determines oral argument is necessary, lead counsel only will receive via e-mail a copy of the court's docket
and acknowledgment form. Other counsel must monitor the court's website for the posting of oral argument calendars.
Name of Lead Counsel: Jonathan       K. Youngwood
                          ________________________________________________________________________________
A. Name of any Circuit Judge of the Fifth Circuit who participated in this case in the district or bankruptcy court.


B. Inquiry of Counsel. To your knowledge:
           (1) Is there any case now pending in this court, which involves the same, substantially the same, similar or related isssue(s)?
                                        Yes                           No

           (2) Is there any such case now pending in a District Court (i) within this Circuit, or (ii) in a Federal Administrative Agency which
           would likely be appealed to the Fifth Circuit?
                                         Yes                          No

           (3) Is there any case such as (1) or (2) in which judgment or order has been entered and the case is on its way to this Court by appeal,
           petition to enforce, review, deny?
                                          Yes                          No

         (4) Does this case qualify for calendaring priority under 5th Cir. R. 47.7? If so, cite the type of case
                                                                                                                    Yes, Preliminary Injunction
If answer to (1), or (2), or (3), is yes, please give detailed information. Number and Style of Related Case:
   Dier v. Landry, et al., Civil Action No. 2:24-cv-02306


Name of Court or Agency
                             Eastern District of Louisiana

Status of Appeal (if any)_
Other Status (if not appealed)
NOTE: Attach sheet to give further details.                                                                          DKT-5A REVISED June 2023
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Attachment to Notice of Form for Appearance


The Clerk will enter my appearance as Counsel for:

Plaintiffs-Appellees:

Darcy Roake, Reverand, on behalf themselves and on behalf of their minor children, real party in
interest A.V., real party in interest S.V.; Adrian Van Young, on behalf of themselves and on
behalf of their minor children, real party in interest A.V., real party in interest S.V.; Mamie
Broadhurst, Reverend, on behalf of themselves and on behalf of their minor child, real party in
interest N.W.; Richard Williams, Reverend, on behalf of themselves and on behalf of their minor
child, real party in interest N.W.; Jeff Sims, Reverend, on behalf of himself and on behalf of his
minor children, real party in interest A.S., real party in interest C.S. 1, real party in interest C.S.
2; Jennifer Harding, on behalf of themselves and on behalf of their minor child, real party in
interest A.O.; Benjamin Owens, on behalf of themselves and on behalf of their minor child, real
party in interest A.O.; David Hawley, on behalf of themselves and on behalf of their minor
children real party in interest A.H., real party in interest L.H.; Erin Hawley, on behalf of
themselves and on behalf of their minor children, real party in interest A.H, real party in interest
L.H.; Dustin McCrory, on behalf of themselves and on behalf of his minor children, real party in
interest E.M.; real party in interest P.M., real party in interest L.M.; Gary Sernovitz, on behalf of
themselves and on behalf of their minor child, real party in interest T.S.; Molly Pulda, on behalf
of themselves and on behalf of their minor child. real party in interest T.S.; Christy Alkire, on
behalf of herself and on hehalf of her minor child, real party in interest L.A.; Joshua Herlands, on
behalf of himself and on behalf of his minor children, real party in interest E.H., real party in
interest J.H.
